 Case 3:10-cv-04430-FLW-TJB Document 1 Filed 08/30/10 Page 1 of 7 PageID: 1




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

___________________________________
DONALD RUBINO                       )
                                    )                Case Number
                                    )
            Plaintiff               )
                                    )
            vs.                     )                CIVIL COMPLAINT
                                    )
FIRST FINANCIAL ASSET               )
MANAGEMENT, INC.                    )                JURY TRIAL DEMANDED
            Defendant               )
___________________________________ )



                         COMPLAINT AND JURY DEMAND

       COMES NOW, Plaintiff, Donald Rubino by and through his undersigned

counsel, Bruce K. Warren, Esquire and Brent F. Vullings, Esquire of Warren & Vullings,

LLP, complaining of Defendant, and respectfully avers as follows:



                         I. INTRODUCTORY STATEMENT

       1.      Plaintiff, Donald Rubino, is an adult natural person and brings this action

for actual and statutory damages and other relief against Defendant for violations of the

Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), which

prohibits debt collectors from engaging in abusive, deceptive and unfair practices.



                                  II. JURISDICTION

       2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.

§ 1337.
 Case 3:10-cv-04430-FLW-TJB Document 1 Filed 08/30/10 Page 2 of 7 PageID: 2




       3.      Venue in this District is proper in that the Defendant transacts business

here and has a registered address in this District.



                                      III. PARTIES

       4.      Plaintiff, Donald Rubino is an adult natural person residing at 4 Tarbell

Street, P.O. Box 1534, Pepperell, MA 01463. At all times material and relevant hereto,

Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a (2).

       5.      Defendant, First Financial Asset Management, Inc. (“Defendant”), at all

times relevant hereto, is and was a corporation engaged in the business of collecting debt

within the State of Georgia with its principle place of business located at 230 Peachtree

Street, 17th Floor, Atlanta, GA 30303 and in the State of New Jersey with its registered

address located at 830 Bear Tavern Road, Trenton, NJ 08628.

       6.      Defendant is engaged in the collection of debts from consumers using the

telephone and mail. Defendant regularly attempts to collect consumer debts alleged to be

due to another. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.

§1692a(6).



                            IV. FACTUAL ALLEGATIONS

       7.      In or around May 2010, the Plaintiff began receiving phone calls from the

Defendant regarding an alleged debt owed to HSBC in the amount of $530.00.

       8.      The Plaintiff receives at least three calls a day on his cell phone from the

Defendant.
 Case 3:10-cv-04430-FLW-TJB Document 1 Filed 08/30/10 Page 3 of 7 PageID: 3




       9.         The Defendant will not leave a message on the Plaintiff’s answering

machine if the Plaintiff is unable to answer the call.

       10.        The Defendant uses an automated dialer to contact the Plaintiff which

prompts the Plaintiff to remain on the line until an agent of the Defendant is available.

       11.        The Plaintiff has never received anything through the mail from the

Defendant regarding the alleged debt.

       12.        The Plaintiff has made several attempts in requesting a validation notice

from the Defendant.

       13.        During one phone conversation, an agent of the Defendant told the

Plaintiff, “You’re nothing but a deadbeat and you need to pay your debt!” and then

proceeded to hang up on the Plaintiff.

       14.        The Defendant has relentlessly tried to get the Plaintiff to give personal

bank account information over the phone to the Defendant.

       15.        The Defendant claimed that the Plaintiff needed to make a payment right

then and there.

       16.        The Plaintiff does not dispute the debt but does not want to give personal

information over the phone to the Defendant which is why the Plaintiff asked the

Defendant for their mailing address.

       17.        The Defendant refused to give the Plaintiff the mailing address of the

company forcing the Plaintiff to look up the Defendant’s address online.

       18.        On or around June 27, 2010, the Plaintiff sent a letter via certified mail,

return receipt requested, to the Defendant stating that the Plaintiff requests a validation
 Case 3:10-cv-04430-FLW-TJB Document 1 Filed 08/30/10 Page 4 of 7 PageID: 4




notice and for the Defendant to cease any further phone contact. See Exhibit “A”

attached here to.

          19.   The Plaintiff has continuously informed the Defendant to stop calling and

for all further communication be done through the mail.

          20.   The Defendant persists in calling the Plaintiff after the Plaintiff sent the

request for validation and the Defendant signed on delivery. See Exhibit “B” attached

hereto.

          21.   The Plaintiff explained to the Defendant’s agent that the Plaintiff sent the

letter and knows that it has been received by the Defendant but the agent told the Plaintiff

that the letter was not the agent’s concern.

          22.   The Defendant had continued to harass the Plaintiff with collection efforts

after receiving the Plaintiff’s cease and desist letter and continued to call the Plaintiff

multiple times on July 2nd and July 3rd.

          23.   As of August 24, 2010, the Plaintiff has yet to receive a validation notice

from the Defendant as requested in the June 27th letter.

          24.   The Defendants acted in a false, deceptive, misleading and unfair manner

when they engaged in conduct the natural consequence of which is to harass, oppress or

abuse such person in connection with the collection of a debt.

          25.   The Defendant knew or should have known that their actions violated the

FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and

their agent’s actions within compliance of the FDCPA, but neglected to do so and failed

to adequately review those actions to insure compliance with the law.
 Case 3:10-cv-04430-FLW-TJB Document 1 Filed 08/30/10 Page 5 of 7 PageID: 5




       26.     At all times pertinent hereto, Defendant was acting by and through it

agents, servants and/or employees, who were acting with the scope and course of their

employment and under the direct supervision and control of Defendant herein.

       27.     At all times pertinent hereto, the conduct of Defendant as well as its

agents, servants and/or employees, was malicious, intentional, willful, reckless, negligent

and in wanton disregard for federal and state law and the rights of the Plaintiff herein.

       28.     As a result of Defendant’s conduct, Plaintiffs have sustained actual

damages, including, but not limited to, injury to Plaintiff’s reputation, invasion of

privacy, damage to Plaintiff’s credit, out-of-pocket expenses, physical, emotional and

mental pain and anguish and pecuniary loss and she will continue to suffer same for an

indefinite time in the future, all to her great detriment and loss.



                                    COUNT I – FDCPA

       29.     The above paragraphs are hereby incorporated herein by reference.

       30.     At all times relevant hereto, Defendant was attempting to collect an

alleged debt which was incurred by Plaintiff for personal, family or household purposes

and is a “debt” as defined by 15 U.S.C. § 1692a(5).

       31.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of:

               §§ 1692c(a)(1):         At any unusual time, unusual place, or unusual time

                                       or place known to be inconvenient to the consumer
 Case 3:10-cv-04430-FLW-TJB Document 1 Filed 08/30/10 Page 6 of 7 PageID: 6




              §§ 1692c(c):           After written notification that consumer refuses to

                                     pay debt, or that consumer wants collector to cease

                                     communication

              §§ 1692d:              Any conduct the natural consequence of which is to

                                     harass, oppress, or abuse any person

              §§ 1692d(2):           Profane language or other abusive language

              §§ 1692d(5):           Caused the phone to ring or engaged any person in

                                     telephone conversations repeatedly

              §§ 1692e:              Any other false, deceptive, or misleading

                                     representation or means in connection with the debt

                                     collection

              §§ 1692f:              Any unfair or unconscionable means to collect or

                                     attempt to collect the alleged debt

              §§ 1692g:              Failure to send the consumer a 30-day validation

                                     notice within five days of the initial communication

              §§ 1692g(b):           Collector must cease collection efforts until debt is

                                     validated



       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant, First Financial Asset Management, Inc. for the following:

       a.     Actual damages;

       b.     Statutory damages pursuant to 15 U.S.C. § 1692k;

       c.     Reasonable attorney’s fees and litigation expenses, plus costs of suit; and
 Case 3:10-cv-04430-FLW-TJB Document 1 Filed 08/30/10 Page 7 of 7 PageID: 7




      d.     Such additional and further relief as may be appropriate or that the

             interests of justice require.




                                 V. JURY DEMAND

      Plaintiff hereby demands a jury trial as to all issues herein.



                                             Respectfully submitted,

                                             WARREN & VULLINGS, LLP

Date: August 30, 2010                        BY: /s/ Bruce K. Warren
                                             Bruce K. Warren, Esquire


                                             BY: /s/ Brent F. Vullings
                                             Brent F. Vullings, Esquire

                                             Warren & Vullings, LLP
                                             1603 Rhawn Street
                                             Philadelphia, PA 19111
                                             215-745-9800 Fax 215-745-7880
                                             Attorneys’ for Plaintiff
